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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 WILLIAM C. TOTH, JR., et al,
               Plaintiffs,

                                                   No. 1:22 Civ. 208 (JPW)
       v.

 LEIGH M. CHAPMAN, in her official
 capacity as Acting Secretary of the
 Commonwealth; JESSICA MATHIS, in
 her official capacity as Director for the
 Pennsylvania Bureau of Election Services
 and Notaries; and TOM WOLF, in his
 official capacity as Governor of
 Pennsylvania,

                     Defendants.


            DEFENDANTS’ UNOPPOSED MOTION FOR
              ENLARGEMENT OF WORD LIMIT FOR
                THEIR BRIEF IN OPPOSITION TO
       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Local Rule 7.8(b)(3), Defendants Leigh M. Chapman, Acting

Secretary of the Commonwealth of Pennsylvania; Jessica Mathis, Director for the

Pennsylvania Bureau of Election Services and Notaries; and Tom Wolf, Governor

of Pennsylvania (“Defendants”) respectfully move for an enlargement of the word

limit applicable to their forthcoming brief in opposition to Plaintiffs’ motion for a

preliminary injunction (ECF 10), which is due on March 8, 2022. Specifically,
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Defendants seek leave to file a brief not to exceed 10,000 words. In support of this

motion, Defendants state as follows:

      1.     Plaintiffs’ pending motion for a preliminary injunction 1 is based on

their First Amended Complaint (ECF 7).2 In that pleading, Plaintiffs make the

novel argument—contradicted by decades of established practice and multiple

decisions by the Supreme Court of the United States—that the Elections Clause of

the U.S. Constitution prohibits state courts from engaging in congressional

redistricting, even where, as here, the political branches have failed to enact a

congressional district plan. Based on this theory, Plaintiffs seek “preliminary”

injunctive relief that would (i) throw out the congressional map for Pennsylvania

that was adopted by the Pennsylvania Supreme Court on February 23, 2022, and

(ii) require the Commonwealth to hold statewide at-large congressional elections

for the first time since the 18th century. Plaintiffs also seek to overturn the


      1
        Plaintiffs’ motion sought a temporary restraining order (TRO) as well as a
preliminary injunction. By Order dated February 25, 2022 (ECF 43), this Court
denied the TRO request.
      2
         On February 27, 2022, Plaintiffs filed a motion for leave to file a second
amended complaint (ECF 48), which the Court granted on February 28, 2022 (ECF
55). Plaintiffs’ Second Amended Complaint adds a Count alleging that the
congressional district plan adopted by the Pennsylvania Supreme Court on
February 23, 2022, is unconstitutionally malapportioned because there is a two-
person difference in population size among its districts. (See ECF 49 ¶¶ 68-74.)
But Plaintiffs have not filed a new motion for preliminary injunctive relief since
filing their Second Amended Complaint, and their pending motion is not based on
this new claim.

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Pennsylvania Supreme Court’s scheduling order confirming election deadlines,

notwithstanding that (i) candidates and election officials across the Commonwealth

have relied on this schedule, and (ii) all parties in the state redistricting litigation

(including leaders of the General Assembly) recognized the Pennsylvania Supreme

Court’s authority to issue the order.3

       2.     Under Local Rule 7.8(b), absent leave of the Court, Defendants’ brief

in opposition to Plaintiffs’ motion for preliminary injunction is limited to the

greater of 15 pages or 5,000 words.

       3.     Defendants respectfully submit that an enlarged word limit for their

opposition brief is appropriate given (i) the number and nature of issues that

Defendants must address in their opposition; and (ii) the public interest implicated

by the sweeping, unprecedented relief that Plaintiffs request.




       3
         As noted, Plaintiffs’ motion for a preliminary injunction was filed before
the Pennsylvania Supreme Court entered its February 23, 2022 Order adopting a
congressional district plan and making modest modifications to the election
calendar to account for certain preliminary deadlines that had already elapsed.
Nonetheless, it is clear that the effect of the preliminary injunctive relief sought in
Plaintiffs’ motion would be as described above. (See ECF 10 (seeking a
“preliminary injunction that restrains the defendants from departing from the
General Primary Calendar prescribed by the Pennsylvania legislature, and that
requires the defendants to conduct at-large elections for the Pennsylvania
congressional delegation unless and until the General Assembly of Pennsylvania
enacts a new congressional map”).)


                                            3
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      4.      Defendants must address a significant number of distinct topics in

their Opposition. As noted, Plaintiffs’ motion asserts two different claims 4: (i) that

Defendants’ implementation of the congressional map adopted by the Pennsylvania

Supreme Court violates the Elections Clause of the U.S. Constitution and 2 U.S.C.

§ 2a(c)(5); and (ii) that Defendants’ compliance with the Pennsylvania Supreme

Court’s scheduling order also violates the Elections Clause. (See ECF 11 at 1-3.)

      5.      Because a party moving for a preliminary injunction must

demonstrate, inter alia, “a reasonable probability of prevailing on the merits,” New

Dana Perfumes Corp. v. The Disney Store, Inc., 131 F. Supp. 2d 616, 626 (M.D.

Pa. 2001) (citing Allegheny Energy, Inc. v. DQE, Inc., 171 F.3d 153, 158 (3d Cir.

1999)), Defendants will demonstrate the flaws in Plaintiffs’ theory of how the

Elections Clause applies to state judicial redistricting.

      6.      In addition, Defendants will show that Plaintiffs’ claims fail at the

threshold, such that the Court need not reach the merits of Plaintiffs’ Elections

Clause theories. In particular, Defendants will demonstrate that (i) Plaintiffs lack

standing to assert their claims; and (ii) Plaintiffs lack any viable right of action.

      7.      Defendants also intend to address Plaintiffs’ failure to satisfy the other

three elements of the test for a preliminary injunction—i.e., to show that Plaintiffs

do not and cannot show “a probability of immediate irreparable harm if relief is


      4
          See supra note 2.

                                            4
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denied”; that “the hardship to the non-moving party is not greater than the harm

avoided by the moving party”; or that “preliminary injunctive relief is in the public

interest.” Id.

      8.     Indeed, apart from the flaws in Plaintiffs’ legal theories, the equities

militate overwhelmingly against an award of the relief Plaintiffs seek. As

Defendants will show, issuing an injunction at this late juncture would unjustly

reward Plaintiffs after they sat on their hands for months. It would also sow chaos

and confusion in the electoral process—all at the direct expense of the

Commonwealth’s voters, political candidates, parties, and election officials, who

have already placed substantial reliance on the redistricting map and primary

election deadlines confirmed by the Order of the Pennsylvania Supreme Court.

Defendants will need sufficient space in their brief to set forth the facts

establishing both Plaintiffs’ inexcusable delay and the extent and nature of the

harm that would be wrought by the relief they demand.

      9.     Given the unprecedented nature of the relief sought by Plaintiffs, as

well as the profoundly disruptive effects it would have on Pennsylvania’s election

administration, candidates, and all Pennsylvania voters, it is particularly important

that the Court have the benefit of comprehensive briefing that fully and adequately

addresses all relevant issues.




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      10.    This motion is timely filed under Local Rule 7.8(b)(3), which requires

that a motion seeking authorization to exceed the word limit “shall be filed at least

two (2) working days before the brief is due.” Defendants’ opposition to

Plaintiffs’ motion for preliminary injunction is due on Tuesday, March 8, 2022.

(See ECF 43.)

      11.    In accordance with the Local Rules, Defendants have sought

Plaintiffs’ and Intervenors’ respective positions on the current motion. As

reflected in the attached Certificate of Concurrence, neither Plaintiffs nor

Intervenors oppose Defendants’ request.

      WHEREFORE, Defendants respectfully request that the Court grant their

motion and enter an Order in the form attached hereto.

 Dated: March 4, 2022          Respectfully submitted,

                               HANGLEY ARONCHICK SEGAL
                               PUDLIN & SCHILLER

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                     CERTIFICATE OF CONCURRENCE
      I, Robert A. Wiygul, hereby certify pursuant to Local Civil Rule 7.1 that

counsel for Defendants sought concurrence in the foregoing motion from counsel

for Plaintiffs and counsel for the Carter Intervenors. Counsel for Plaintiffs stated

that they would not oppose Defendants’ motion provided that Defendants would

not oppose a request for an equivalent word-length extension for Plaintiffs’ Reply

in support of their motion for a preliminary injunction, to which Defendants
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agreed. Counsel for the Carter Intervenors stated that they do not oppose

Defendants’ motion.



Dated: March 4, 2022                         /s/ Robert A. Wiygul
                                             Robert A. Wiygul




                                         2
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                         CERTIFICATE OF SERVICE
      I hereby certify that on this 4th day of March, 2022, a true and correct copy

of the foregoing Defendants’ Unopposed Motion for Enlargement of Word Limit

for Their Brief in Opposition to Plaintiffs’ Motion for Preliminary Injunction was

served upon all counsel of record via the Court’s CM/ECF electronic filing system.



                                             /s/ Robert A. Wiygul
                                             Robert A. Wiygul
